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Fill in this information to identify your case:

Debtor 1                  Amber Renee Hobbs
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there
       919 Heartland Way                                  From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Hailey, ID 83333                                   Jul 21 - Mar 22                                                                 From-To:



       1171 E Sherman Ave                                 From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Salt Lake City, UT 84105                           May 15 - Jul 21                                                                 From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)

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                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income           Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                                exclusions)                                                and exclusions)

From January 1 of current year until              Wages, commissions,                       $16,500.00           Wages, commissions,
the date you filed for bankruptcy:              bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For last calendar year:                           Wages, commissions,                       $47,250.00           Wages, commissions,
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                      $18,919.00           Wages, commissions,
(January 1 to December 31, 2021 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income           Gross income
                                                Describe below.                 each source                    Describe below.             (before deductions
                                                                                (before deductions and                                     and exclusions)
                                                                                exclusions)
From January 1 of current year until IRA Cashout                                            $39,611.68
the date you filed for bankruptcy:

For the calendar year before that:              Stimulus                                      $1,300.00
(January 1 to December 31, 2021 )


                                                Utah home sold                             $364,551.58


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.

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      Creditor's Name and Address                        Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                               paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Mark Nelson, Kristin Nelson vs                     Collections                  Utah, 3rd District, Salt Lake               Pending
      H&H Design, LLC, Amber Hobbs                                                    County                                      On appeal
      210903400                                                                       450 S State St.
                                                                                                                                  Concluded
                                                                                      Salt Lake City, UT 84111

      In the Matter of the Application of:               Name Change                  Idaho 5th District, Blaine                  Pending
      Amber Shirley, For a Change of                                                  County                                      On appeal
      Name                                                                            206 1st Ave S
                                                                                                                                  Concluded
      CV07-22-562                                                                     Hailey, ID 83333


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Mark & Kristin Nelson                              $1,763.38                                                      10 Jan                       $1,763.38
      7801 South Mystic Meadows Ln
      Sandy, UT 84093                                        Property was repossessed.
                                                             Property was foreclosed.
                                                             Property was garnished.
                                                             Property was attached, seized or levied.




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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                               Describe the action the creditor took                         Date action was              Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                                                                                                 loss                             lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.
      Blockfi Investments $10,000.00,                    NA                                                                 11/21/2021               $10,000.00
      Cryptocurrency - Investment
      company filed bankruptcy.


Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You




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      Person Who Was Paid                                  Description and value of any property                    Date payment                 Amount of
      Address                                              transferred                                              or transfer was               payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Idaho Bankruptcy Law                                 Attorney Fees                                            22 May                         $23.50
      PO Box 483
      Paul, ID 83347
      paul@idbankruptcylaw.com


      Debt Edu & Cert Foundation                           Credit Counseling                                        23 Aug                         $18.00
      114 Goliad Street
      Fort Worth, TX 76126


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment                 Amount of
      Address                                              transferred                                              or transfer was               payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or          Date transfer was
      Address                                              property transferred                       payments received or debts        made
                                                                                                      paid in exchange
      Person's relationship to you
      Levi Jackson & Lydia R Kerr                          1171 E Sherman Ave, Salt                   Equity received                   Aug 21
      1171 E Sherman Ave                                   Lake City, UT 84105 -                      $364,551.58. Held 50%
      Salt Lake City, UT 84105                             $600,000                                   funds for John Shirley,
                                                                                                      cosigner.
      NA

      Silver Creek Ford c/o Karl Malon Ford                2016 Subaru Forester -                     Paid off Loan -                   Oct 21
      920 S Main St                                        $20,200                                    $13,821.71, received
      Hailey, ID 83333                                                                                $6,378.29 trade-in
                                                                                                      allowance for 2019
      NA                                                                                              Toyota Tacoma

      John Shirley                                         $15,000.00 - Utah home                     NA                                Jan 22
      6425 S Heughs Canyon Dr                              distribution
      Salt Lake City, UT 84121

      Father

      John Shirley                                         $130,000.00 - Utah home                    NA                                Feb 22
      6425 S Heughs Canyon Dr                              distribution
      Salt Lake City, UT 84121

      Father




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                            Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

      John & April Shirley                                         860 Fox Acres                          Home - $602,797.00 ,                     $605,797.00
      6425 South Heighs Canyon Dr.                                 Hailey, ID 83333                       refrigerator, stove,
      Salt Lake City, UT 84121                                                                            washer/dryer, oven,
                                                                                                          microwave, dishwasher -
                                                                                                          $3,000.00




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Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      H&H Design LLC                                       Interior Design                                       EIN:       XX-XXXXXXX
      860 Fox Acres Rd
      Hailey, ID 83333                                     Prince Hansen Gary & Associates                       From-To    2007 - Present
                                                           PLLC
                                                           11075 South State Street, Ste 4
                                                           Sandy, UT 84070

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       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed
       Yellow Dogs                                          Interior Design & Property                        EIN:         XX-XXXXXXX
       310 Gould Street                                     Management
       Sheridan, WY 82801                                                                                     From-To      2021 - Present
                                                            Stacee L. Parke, CPA
                                                            233 Main Street
                                                            Gooding, ID 83330


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Amber Renee Hobbs
Amber Renee Hobbs                                                     Signature of Debtor 2
Signature of Debtor 1

Date      3 October 2023                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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